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                           IN THE UNITED STATES DISTRICT COURT
                                      FOR NEW JERSEY

UNITED STATES OF AMERICA                            Civil Action No.

               Plaintiff                            Complaint for Foreclosure and
                                                    Possession
KENNETH L. WILSON, INDIVIDUALLY
AND AS EXECUTOR OF THE ESTATE OF
KENNETH H. WILSON; DONALD C.
WILSON, HIS HEIRS, DEVISEES AND
PERSONAL REPRESENTATIVES AND
HIS, HER, THEIR OR ANY OF THEIR
SUCCESSORS IN RIGHT, TITLE AND
INTEREST; ANNA WILSON; BRIAN
WILSON; CANDICE WILSON; DEVAL,
LLC; STATE OF NEW JERSEY;
FEDERATED FINANCIAL CORPORATION
OF AMERICA; BGM FINANCIAL, LLC
D/B/A EAST COAST BAIL BONDS;
ROSENFARB & CO-PARTNERS, P.A. T/A
ROSENFARB & CO., CERTIFIED PUBLIC
ACCOUNTANTS; BENHUR RICKETTS;
MAURICE WELLINGTON; CREDIT
ACCEPTANCE CORPORATION,
ASSIGNEE OF ADAS AUTO GROUP, INC.;
HUDSON MRI, PA; NJDOT CREDIT
UNION; J.C. PENNEY COMPANY;
CAREONE AT MERCER, LLC D/B/A
CAREONE AT EWING; ADRIANA
WILSON; MICHAEL ANTHONY AUTO
SALES, INC.; M&R AUTO SALES;
ANTHONY DEVINCENTIS, DMD


               Defendant(s)



       The UNITED STATES OF AMERICA, by and through its attorneys, Frank J. Martone,

P.C., states the following claims against the defendants:

                                               PARTIES

       1.      Plaintiff, Department of Housing and Urban Development, is an agency of the

United States of America, (hereinafter referred to as “United States of America” having an office

at 301 NW 6th Street, Suite 200, Oklahoma City, Oklahoma.
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       2.      Upon information and belief, KENNETH H. WILSON, original owner, died on June

10, 2013. Plaintiff’s inquiry revealed an Application for Probate was filed with the Atlantic County

Surrogate’s Court under Docket #114469. The Last Will & Testament of Kenneth H. Wilson (aka

Kenneth Howard Wilson) named Kenneth L. Wilson as Executor of the Estate of Kenneth H.

Wilson. Letters Testamentary were issued to Kenneth L. Wilson on June 21, 2013. The Last Will

& Testament of Kenneth H. Wilson devised the residuary estate to KENNETH L. WILSON, son

and DONALD CLAYTON WILSON, son.

       (a).    Upon information and belief KENNETH H. WILSON is also known as KENNETH

HOWARD WILSON and is being designated herein in as KENNETH H. WILSON. He is one and

the same person.

       (b).    Upon information and belief KENNETH L. WILSON is also known as KENNETH

LAWRENCE WILSON and also known as KEN WILSON and is being designated herein in as

KENNETH L. WILSON. He is one and the same person.

       (c).    Upon information and belief DONALD C. WILSON is also known as DONALD

CLAYTON WILSON and also known as DONALD V. WILSON and also known as DON WILSON

and is being designated herein in as DONALD C. WILSON. He is one and the same person.

       (d).    KENNETH L. WILSON is hereby made a party defendant in his capacity as

Executor of the Estate of Kenneth H. Wilson and Individually as an heir/beneficiary at law and

next of kin of the decedent Kenneth H. Wilson, and for any interest he may have in the subject

property. The subject premises is not his primary marital residence.

       (e).    Upon information and belief, DONALD C. WILSON, heir/beneficiary at law and next

of kin of the decedent, Kenneth H. Wilson is deceased. Donald C. Wilson passed away on

September 29, 2014, died Intestate in Arapahoe, North Carolina. Plaintiff’s further inquiry revealed

a filed Probate was filed for the estate of Donald C. Wilson in the County of Pamlico, North Carolina,

under File No. 15 E 537 filed on August 14, 2015 which revealed the following last known heirs and




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next of kin: Anna Wilson, spouse, Brian Wilson, son and Candice Wilson, daughter. The

subject premises is not the primary marital residence of Donald C. Wilson.

       (f).    In the event that there are any heirs at law and next of kin of Donald C. Wilson, that

plaintiff is unaware of plaintiff herein joins the unknown heirs of Donald C. Wilson, for any interest

they may have in the subject property and are designated as:

      DONALD C. WILSON, HIS HEIRS, DEVISEES AND PERSONAL REPRESENTATIVES
AND HIS, HER, THEIR OR ANY OF THEIR SUCCESSORS IN RIGHT, TITLE AND INTEREST

       (g).    ANNA WILSON is hereby made a party defendant as an heir at law and next of kin

of the decedent Donald C. Wilson, and for any interest she may have in the subject property. The

subject premises is not her primary marital residence.

       (h).    BRIAN WILSON is hereby made a party defendant as an heir at law and next of

kin of the decedent Donald C. Wilson, and for any interest he may have in the subject property.

The subject premises is not his primary marital residence.

       (i).    CANDICE WILSON is hereby made a party defendant as an heir at law and next

of kin of the decedent Donald C. Wilson, and for any interest she may have in the subject property.

The subject premises is not her primary marital residence.

       3.      The State of New Jersey is hereby made a party defendant by virtue of its interest

in any unpaid transfer, estate and/or inheritance taxes, which may be due by reason of the death

of Kenneth H. Wilson.

       4.      On September 3, 2013, The Estate of Kenneth H. Wilson, conveyed the premises

being foreclosed herein to DEVAL, LLC, which deed was recorded September 3, 2013 in Book/VOL

13649 of Deeds for Atlantic County, Instrument #2013055132.

       5.      Defendants set forth below are holders of docketed judgment(s) and their liens are

subordinate to that of plaintiff, and they are joined because of the judgment that they hold.




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     (a). State of New Jersey is made a party defendant by virtue of the following
judgment.




      (b).   Said Judgment was docketed as Federated Financial Corporationof Ameirca.
Federated Financial Corporation of America is made a party defendant by virtue thereof.




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     (c).




     (d).




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     (e).




     (f).




     (g).




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     (h).




     (i).




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     (j).




     (k).




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     (l).

     State of New Jersey is made a party defendant by virtue of the following judgment.




     (m).




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      (n).




      (o).




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       6.      Plaintiff is also the holder of the following docketed judgment(s) and are reported

herein for informational purposes only.

       (a).




       (b).




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        (c).




                                        JURISDICTION AND VENUE

        7.      Jurisdiction is based on 28 U.S.C. §1345, which provides that the district courts

shall have original jurisdiction of all civil actions, suits or proceedings commenced by the United

States, or by any agency or officer, and upon 12 U.S.C. 1715 et seq.

        8.      Venue is proper in this district under 28 U.S.C. §1391 and §1396 as the transaction

which is the subject matter of this Complaint took place entirely in this district, and the real estate

which is the subject of this transaction is located in this district.

                                                     FACTS

        9.      The mortgagor, KENNETH H. WILSON, prior to the execution of the note and

mortgage, was duly advised and counseled regarding the United States Home Equity Conversion

Mortgage (HECM) loan program, which program is regulated and set forth in 24 CFR Part 206, et

seq. and all subsequent handbooks (4330.1 REV-5), mortgage letters, etc. as set forth by the

Secretary of the Department of Housing and Urban Development. The purpose of this program


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is set forth in 24 CFR 206.1, and as. ”set out in section 255(a) of the National Housing Act, Public

Law 73-479, 48 STAT. 1246 (12 U.S.C. 1715z-20)”; being further regulated by Handbook 4330.01

Rev. 5 and all subsequent mortgage letters as issued and set forth by the Secretary of the

Department of Housing and Urban Development.

       10.     On or about August 29, 2005, KENNETH H. WILSON, executed and delivered to

WELLS FARGO BANK, N.A., a Home Equity Conversion Adjustable Rate Note, attached hereto

as Exhibit A, incorporated herein and made a part hereof as if fully written herein. (Note). Under

paragraph 2, of the Note, titled: Borrower(s) Promise to Pay: Interest, the mortgagor, Kenneth

H. Wilson, agreed to the following, to wit:

               In return for amounts to be advanced by Lender to a maximum
               principal amount of $349,125.00, to or for the benefit of Borrower
               under the terms of a Home Equity Conversion Loan Agreement
               dated August 29, 2005 (Loan Agreement), Borrower promises to
               pay to the order of Lender a principal amount equal to the sum of
               all Loan Advances made under the Loan Agreement with interest.
               Interest will be charged on unpaid principal at the rate of Five and
               390/1000 percent (5.3900%) per year until the full amount of
               principal has been paid. The interest rate may change in
               accordance with Paragraph 5 of this Note. Accrued interest shall
               be added to the principal balance as a Loan Advance at the end of
               each month.

       11.     Simultaneously with the execution and delivery of the Note, and in order to secure

the payment of said Note, the mortgagor, KENNETH H. WILSON executed and delivered to

WELLS FARGO BANK, N.A., a Home Equity Conversion Mortgage, a copy of which is attached

hereto as Exhibit B, incorporated herein and made a part hereof as if fully written herein

(Mortgage).    Said Mortgage was duly recorded on October 5, 2005 in Book/VOL 12155,

INSTRUMENT #2005106052, ATLANTIC County Clerk’s/Register’s Office, New Jersey. Said

real estate is within the jurisdictional limits of the Court. Said mortgage was not a purchase money

mortgage.




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       12.     The mortgaged premises are described as follows:

               All that certain tract or parcel of land and premises situate in the City of PORT
               REPUBLIC, County of ATLANTIC and State of New Jersey being more particularly
               described as follows:

               See attached Exhibit C.

               Tax Lot 32, Block 14, commonly known as 215 Old New York Road, Port Republic,
               New Jersey 08241.

               The legal description contained in Exhibit C attached hereto was obtained from
               Deed dated January 23, 1942, recorded February 3, 1942, in Book 1129, Page
               182 which conveys the southerly 209 x 52 portion of the land and Deed dated July
               29, 1953, recorded July 29, 1953, in Book 1870, Page 498 which conveys the
               northerly 209 x 52 portion of the land. The mortgage describes the property as
               being situate in the City of Port Republic, County of Atlantic, State of New Jersey,
               being Lot 32, Block 14.


       13.     On April 12, 2013 by assignment bearing that date, WELLS FARGO BANK, N.A.

assigned said Note and Mortgage to THE SECRETARY OF HOUSING AND URBAN

DEVELOPMENT which Assignment was recorded in the Clerk’s/Register’s office of ATLANTIC

County, New Jersey on May 7, 2013 in Book/VOL 13588 of Assignments of Mortgage for said

County, INSTRUMENT #2013028016. See Exhibit D.

       14.     The mortgagor KENNETH H. WILSON, was deemed deceased on June 10, 2013.

       15.     The Mortgage provide, at paragraph 9, titled Grounds for Acceleration of Debt,

“(a) Due and Payable. Lender may require immediate payment in full of all sums secured by this

Security Instrument if: (i) a Borrower dies and the Property is not the principal residence of at least

one surviving Borrower”.     KENNETH H. WILSON was the only borrower on the Note and

Mortgage.

       16.     Demand for payment of all sums due under the Note and Mortgage was made,

and payment has not been paid.

       17.     The Defendant(s), Kenneth H. Wilson is indebted to the United States of America

on behalf of the Secretary of Housing and Urban Development and there remains due the




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following sums to the Plaintiff.   (See Statement of Account, attached hereto as Exhibit E,

incorporated herein and made a part hereof as if fully written herein.)



       (a)     Unpaid Principal                                               $225,604.07

       (b)     Interest accrued in accordance with
               Adjustable rate note/mortgage:
               at the annual rate of 3.250%
               per annum                                                      $ 60,167.97

       (c)     MIP
               Advances for tax payments and insurance
               Set forth in 24 CFR 206.27 & 206.103 et seq.
               and HUD Handbook 4330.1 (13-14)                                 $ 17,063.59

       (d)     Service Fee
               set forth in HUD Handbook 4330.1 (13-15)
                                                                                $ 4,530.00

               Total (as of March 30, 2018)                                   $307,365.63




       18.     Said Note and Mortgage contained an agreement that if any of the installments of

taxes, assessments, water rents, charges, impositions or liens, levied upon the premises should

remain in default, the mortgagee may pay the same, and such amount paid shall be a lien on said

lands, added to the amount of the mortgage debt and secured by this mortgage.

       19.     During the course of this action, the plaintiff may be obligated to make advances

for the payment of taxes, insurance premiums, and necessary expenses and curative payments

to preserve the security, and such sums advanced under the terms of the Note, together with

interest, are to be added to the amount due on the mortgage debt and secured by the plaintiff’s

mortgage.

       20.     On June 10, 2013, default occurred. The entire principal and interest, insurance

and taxes and other charges became due and payable on plaintiff’s mortgage and has not been

paid. Plaintiff has elected that the whole of the unpaid principal and interest shall now be due.



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       21.     The following instruments or liens of record in the Office of the Clerk/Register of

ATLANTIC County, New Jersey which affect or may affect the premises described herein all of

which instruments or liens are subordinate to the lien of the mortgage set forth above.

       21(a). Home Equity Conversion Second Mortgage from KENNETH H. WILSON to

SECRETARY OF HOUSING AND URBAN DEVELOPMENT, dated August 29, 2005, recorded

October 5, 2005, in Mortgage Book/VOL 12155, INSTRUMENT #2005106053 in the maximum

principal amount of $349,125.00. Plaintiff is also the holder of the Home Equity Conversion

Second Mortgage, however, plaintiff wishes to report the lien only and does not wish to foreclose

this mortgage at this time, attached hereto as Exhibit F.

       22.     Any interest or lien which any of the defendants herein has or claims to have in or

upon the said mortgaged premises or some part thereof is subject to the lien of plaintiff’s

mortgage.



                                          COUNT ONE

                          Foreclosure on the Mortgaged Premises

       23.     Plaintiff repeats the allegations contained in Paragraphs 1 through 22 of the

Complaint and makes same as part hereof as if repeated at length.

       24.     As a result of KENNETH H. WILSON’s default under the mortgage, Plaintiff is

entitled to immediate payment of the entire unpaid balance due and owing under the loan

documents, with interest accruing on such at the rate provided for under the mortgage, together

with reasonable attorneys’ fees and other charges as provided for under the mortgage.

       WHEREFORE, plaintiff prays for judgment as follows:

       (a)     Fixing the amount due on its mortgage.

       (b)     Barring and foreclosing the defendants and each of them of all equity of

               redemption in and to said lands.




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       (c)     Directing that the plaintiff be paid the amount due on its mortgage with interest and

               costs.

       (d)     Adjudging that said lands be sold according to law to satisfy the amount due

               plaintiff.

       (e)     Appointing a receiver of rents, issues and profits of said lands.

       (f)     Such other and further relief as the Court deems just and equitable.

                                            SECOND COUNT

                                  Possession of Mortgaged Premises

       25.     Plaintiff repeats any and all allegations of Paragraphs 1 through 24 of the

Complaint and makes same a part hereof as if repeated at length.

       26.     By reason of the default in the terms of the mortgage referred to in the First Count

of the Complaint, and by reason of the terms of the mortgage, plaintiff is entitled to possession of

the premises described herein.

       27.     Defendant(s), KENNETH L. WILSON, INDIVIDUALLY AND AS EXECUTOR OF

THE ESTATE OF KENNETH H. WILSON; DONALD C. WILSON, HIS HEIRS, DEVISEES AND

PERSONAL REPRESENTATIVES AND HIS, HER, THEIR OR ANY OF THEIR SUCCESSORS

IN RIGHT, TITLE AND INTEREST; ANNA WILSON; BRIAN WILSON; CANDICE WILSON,

and/or its tenants or assigns, are now in possession of the premises described herein and have

at all times deprived plaintiff of possession of said premises.

       WHEREFORE, plaintiff prays for judgment as follows:

       (a)     That plaintiff or the purchaser at the foreclosure sale recovers possession of the

               mortgaged premises against said defendants or anyone holding under them.

       (b)     Damages for mesne profits.

       (c)     Costs.

       (d)     Such other and further relief as the Court deems just and equitable.




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                               DESIGNATION OF TRIAL COUNSEL

         Frank J. Martone, Esq. and Dennis P. Uhlmann, Jr., Esq. are hereby designated as trial
counsels for the Plaintiff, UNITED STATES OF AMERICA.



                   CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

         The undersigned attorney certifies that there are no other actions pending or contemplated
at this time related to the subject matter of this action.



       CERTIFICATION PURSUANT TO NEW JERSEY COURT R. 4:5-1 AND R. 4:64-1

         In accordance with Rule 4:5-1, I hereby certify that the matter in controversy is not the

subject of any action pending arbitration proceeding. There is no other action or arbitration

proceeding contemplated, nor is there any other party who should be joined in this action.

         In accordance with Rule 4:64-1(a), I hereby further certify that a title search of the public
record has been received and reviewed for the purpose of identifying any lien holders and/or other
person and entities with an interest in the property that is subject to foreclosure. The effective
date of the title search is May 18, 2018.



 CERTIFICATION OF DILIGENT INQUIRY TO BE ANNEXED TO RESIDENTIAL MORTGAGE
 FORECLOSURE COMPLAINTS PURSUANT TO NEW JERSEY COURT RULE 1:5-6(c)(1)(E)
                         AND RULES 4:64-1(a)(2) and (3)

         Dennis P. Uhlmann, Jr., Esq., of full age, hereby certifies and says:

         1.     I communicated by e-mail with the following named employee(s) of THE

SECRETARY OF HOUSING AND URBAN DEVELOPMENT, who stated that he/she personally

reviewed the documents submitted to the Court and that he/she confirmed their accuracy.

         2.     The name, title and responsibilities of the plaintiff’s employee(s) with whom I

communicated are: GAYLENE FOX, PARALEGAL SPECIALIST, OFFICE OF COUNSEL,

DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT; OVERSEE FORECLOSURE

FILES.




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       3.      Based on my communication with the above-named employee(s) of plaintiff, as

well as my own inspection of the loan information supplied by plaintiff and other diligent inquiry, I

execute this certification to comply with the requirements of Rule 1:4-8(a), 1:5-6(c)(1)(E), and

4:64-1(a)(2) and (3).

       4.      I am aware that I have continuing obligation under Rule 1:4-8 to amend this

certification if a reasonable opportunity for further investigation or discovery indicates insufficient

evidentiary support for any factual assertions proffered by plaintiff in any court filings or

documents in this case.

                                        5th             November
       Respectfully submitted this _______ day of ________________________, 20________      18


                                                       By:
                                                               Dennis P. Uhlmann, Jr., Esq.
                                                               Attorney for Plaintiff
                                                               Frank J. Martone, P.C.
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